                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


DONALD J. TRUMP, Candidate for President of the
United States of America,

              Plaintiff,

       v.                                                  Case No.: 2:20-cv-01785-BHL

THE WISCONSIN ELECTIONS COMMISSION, and its
Members, ANN S. JACOBS, MARK L. THOMSEN,
MARGE BOSTELMANN, DEAN KNUDSON,
ROBERT F. SPINDELL, JR., in their official capacities,
SCOTT MCDONELL in his official capacity as the Dane
County Clerk, GEORGE L. CHRISTENSON in his
official capacity as the Milwaukee County Clerk,
JULIETTA HENRY in her official capacity as the
Milwaukee Election Director, CLAIRE WOODALL-
VOGG in her official capacity as the Executive Director
of the Milwaukee Election Commission, MAYOR TOM
BARRETT, JIM OWCZARSKI, MAYOR SATYA
RHODES-CONWAY, MARIBETH WITZEL-BEHL,
MAYOR CORY MASON, TARA COOLIDGE,
MAYOR JOHN ANTARAMIAN, MATT KRAUTER,
MAYOR ERIC GENRICH, KRIS TESKE, in their
official capacities; DOUGLAS J. LA FOLLETTE,
Wisconsin Secretary of State, in his official capacity, and
TONY EVERS, Governor of Wisconsin, in his official capacity,

              Defendants.


      DEFENDANTS CORY MASON, TARA COOLIDGE, JOHN ANTARAMIAN,
            MATT KRAUTER, ERIC GENRICH, AND KRIS TESKE’S
              MOTION FOR AN AWARD OF ATTORNEY FEES


       Defendants Cory Mason, Mayor of the City of Racine, Tara Coolidge, City Clerk of the

City of Racine, John Antaramian, Mayor of the City of Kenosha, Matt Krauter, City Clerk of the

City of Kenosha, Eric Genrich, Mayor of the City of Green Bay, and Kris Teske, City Clerk of the




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City of Green Bay by their attorneys Lawton & Cates, S.C., by Daniel P. Bach, Dixon R. Gahnz,

Daniel S. Lenz, and Terrence M. Polich respectfully request this Court to tax attorney fees in the

amount of $42,570, imposed jointly and severally against Plaintiff Donald J. Trump and his

attorneys pursuant to 28 U.S.C. § 1927; 28 U.S.C. § 1988; and the Court's inherent authority. Royce

v. Michael R. Needle P.C., 950 F.3d 939, 953 (7th Cir. 2020). The bases for this motion are set

forth in the Brief in Support of their Motion for an Award of Attorney Fees, and the Declaration

of Daniel P. Bach.

       Dated this 2nd day of April, 2021.            LAWTON & CATES, S.C.

                                                     /s/ Daniel S. Lenz
                                                     Dixon R. Gahnz, SBN: 1024367
                                                     Daniel P. Bach, SBN: 1005751
                                                     Daniel S. Lenz, SBN: 1082058
                                                     Terrence M. Polich, SBN: 1031375


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